                 IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                          Case No. 1:22-CV-568

JULIETTE GRIMMETT, RALSTON LAPP                )
GUINN MEDIA GROUP, and the JOSH                )
STEIN FOR ATTORNEY GENERAL                     )
CAMPAIGN,                                      )
                                               )
                 Plaintiffs,                   )
                                               )
                                                    OPPOSITION TO PLAINTIFFS’
v.                                             )
                                                     MOTION FOR TEMPORARY
                                               )
                                                     RESTRAINING ORDER OF
DAMON CIRCOSTA, in his official capacity )
                                                     DEFENDANTS CIRCOSTA,
as Chair of the North Carolina State Board )
                                                   ANDERSON, CARMON, EGGERS,
of Elections, STELLA ANDERSON, in her          )
                                                          AND TUCKER
official capacity as Secretary of the North    )
Carolina State Board of Elections, JEFF        )
CARMON III, in his official capacity as        )
Member of the North Carolina State Board )
of Elections, STACY EGGERS IV, in his          )
official capacity as Member of the North       )
Carolina State Board of Elections, TOMMY )
TUCKER, in his official capacity as Member )
of the North Carolina State Board of           )
Elections, and N. LORRIN FREEMAN in            )
her official capacity as District Attorney for )
the 10th Prosecutorial District of the State )
of North Carolina,                             )
                                               )
               Defendants.                     )


      Rather than address the specific factual circumstances giving rise to this

action alone, the Plaintiffs ask this Court to declare an unabridged, First

Amendment right for anyone to lie about candidates for office. They also seek to

enjoin the State Board of Elections from investigating such misconduct in

derogation of the Board’s duty. The Plaintiffs’ requests overreach.




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      No such broad declaration or injunction is warranted. As a threshold matter,

to the extent the scope of the challenged law is undetermined, this Court would

properly abstain from reaching the Plaintiffs’ case under Railroad Comm. of Texas

v. Pullman Co., 312 U.S. 496 (1941). If the Court does reach the merits, the

Plaintiffs’ motion fails. The statute at issue, which prohibits lying about a

candidate in an effort to affect the candidate’s chances of election, is facially

constitutional. It serves the “indisputably . . . compelling state interest in

preserving the integrity and reliability of its election process” and in “ensuring

honest and fair elections.” State v. Petersilie, 334 N.C. 169, 185, 432 S.E.2d 832,

841 (1993) (quoting Eu v. San Francisco Cnty. Democratic Comm., 489 U.S. 214,

231 (1989)).

      Nor is there any need for the breadth of relief that the Plaintiffs seek,

particularly as it pertains to the State Board of Elections. The complaint that

prompted the investigation at issue was made in September 2020. [D.E. 1 ¶ 27].

And there is nothing left to enjoin the Board from doing; the Board concluded its

investigation over a year ago, prior to July 14, 2021. [D.E. 1 ¶ 36]. With respect to

the Plaintiffs’ claims for relief against the State Board of Elections, the Plaintiffs

cannot justify their failure to raise their concerns before now.

      A federal court’s assessment of whether a state statute is constitutional is a

serious matter that ought to be determined, if at all, on a full record—not on an

unnecessarily rushed motion for a temporary restraining order.




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      FACTUAL ALLEGATIONS AND PROCEDURAL BACKGROUND

      Defendants Damon Circosta, Stella Anderson, Jeff Carmon III, Stacy Eggers

IV, and Tommy Tucker are members of the North Carolina State Board of Elections,

sued in their official capacities. [D.E. 1 ¶¶ 11-15]. For ease of reference, this

memorandum will refer to them collectively as the “State Board of Elections.”

      Pursuant to N.C. Gen. Stat. § 163-22(d), the State Board of Elections

investigates potential election law violations and irregularities and refers cases to

the appropriate prosecutorial authorities when warranted. The State Board of

Elections does not prosecute cases itself. Among the laws that the State Board of

Elections is tasked with investigating is a law that makes it a crime “[f]or any

person to publish or cause to be circulated derogatory reports with reference to any

candidate in any primary or election, knowing such report to be false or in reckless

disregard of its truth or falsity, when such report is calculated or intended to affect

the chances of such candidate for nomination or election.” N.C. Gen. Stat. § 163-

274(a)(9) (the “Statute”).

      The Plaintiffs allege that the State Board of Elections received a complaint

on September 29, 2020, that Attorney General Josh Stein and his campaign for re-

election (the “Stein Campaign”) violated the Statute. [D.E. 1 ¶¶ 27-28]. They allege

that State Board of Elections investigators interviewed Ms. Grimmett and the

Attorney General’s chief of staff in March of 2021. [D.E. 1 ¶¶34-35]. The Plaintiffs

further allege that by July 14, 2021—over one year ago—the State Board of

Elections announced that its investigation had been completed and that its findings



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and recommendation had been presented to the Wake County District Attorney’s

Office. [D.E. 1 ¶ 36].

       The Plaintiffs offer no specific facts that the State Board of Elections has

taken or threatened to take any further action on the complaint since. The lone

assertion that any further action is imminent is the statement in the Declaration of

Scott Falmlen that “[a]s reported to me by counsel for the Stein Campaign,

enforcement action by the office of the Wake County District Attorney concerning

the Survivor political advertisement appears imminent.” [D.E. 5-1 ¶ 15 (emphasis

added)]. On this slender reed, the Plaintiffs ask the Court to declare the Statute

unconstitutional both facially and as applied—and to enjoin the State Board of

Elections from taking any action to enforce the Statute in any case at all, even a

case unrelated to the complaint against the Stein Campaign.

                             QUESTION PRESENTED

       Should this Court grant a temporary restraining order against the State

Board of Elections when the Plaintiffs fail to show a likelihood of success on the

merits and the extraordinary relief is unnecessary to maintain the status quo?

                                LEGAL STANDARD

       To obtain a temporary restraining order, a moving party bears the burden of

showing four elements: (1) a likelihood of success on the merits; (2) a likelihood of

irreparable harm to the moving party in the absence of preliminary relief; (3) that

the balance of equities tips in favor of the moving party; and (4) that an injunction

is in the public interest. Winter v. Natural Res. Def. Council Inc., 555 U.S. 7, 20



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(2008). Courts considering whether to impose injunctive relief consider each of these

factors separately. Di Biase v. SPX Corp., 872 F.3d 224, 230 (4th Cir. 2017).

          “[A] temporary restraining order shall not issue in the absence of ‘specific

facts [which] clearly show that immediate and irreparable injury, loss, or damage

will result to the movant before the adverse party may be heard in opposition.’”

Wilson v. Rabbar, No. 1:14CV622, 2015 WL 197368, at *2 (M.D.N.C. Jan. 14, 2015)

(quoting Fed. R. Civ. P. 65(b)(1)(A)).

          The Plaintiffs have established none of these factors as they relate to the

State Board of Elections. Accordingly, Plaintiffs’ motion should be denied.

                                       ARGUMENT

    I.       Insofar as the Court Determines that the Statute’s Scope is
             Undetermined, Pullman Abstention is Warranted.

          As a threshold matter, if the Court determines that the Statute’s scope is

undetermined,1 it may properly abstain from exercising jurisdiction here pursuant

to Railroad Comm. of Texas v. Pullman, 312 U.S. 496 (1941). “Federal courts should

abstain under Pullman where a case involves an open question of state law that is

potentially dispositive inasmuch as its resolution may moot the federal

constitutional issue.” W. Virginia Citizens Def. League, Inc. v. City of Martinsburg,

483 F. App’x 838, 839–40 (4th Cir. 2012). “The doctrine thus both avoids impinging




1 The State Board of Elections does not take the position that the Statute is unclear.
Nevertheless, the Plaintiffs appear to argue that the law suffers from a lack of
judicial interpretation in their characterization of the Statute as “archaic” and their
observation that it has not been the subject of a reported case. [D.E. 1 ¶¶ 2, 4].
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upon state sovereignty and forestalls premature consideration of sensitive federal

controversies.” Id.

      Pullman abstention would be appropriate here because North Carolina

should be permitted to interpret its own laws in the first instance, pursuant to its

common-law tradition, in a manner that avoids doubt about its laws’

constitutionality. See, e.g., Delconte v. State, 313 N.C. 384, 402, 329 S.E.2d 636,

647–48 (1985) (“The cardinal principle of statutory construction [in North Carolina]

is to save and not to destroy. We have repeatedly held that as between two possible

interpretations of a statute, by one of which it would be unconstitutional and by the

other valid, our plain duty is to adopt that which will save the act.”); Matter of

Banks, 295 N.C. 236, 239, 244 S.E.2d 386, 388 (1978) (discussing construction of

criminal statutes).

      In fact, in State v. Petersilie, 334 N.C. 169, 432 S.E.2d 832 (1993), the North

Carolina Supreme Court interpreted what is now codified adjacent to the Statute,

N.C. Gen. Stat. § 163-274(a)(8). That statute criminalizes anonymous derogatory

charges about candidates. 334 N.C. at 179. Petersilie interpreted the statute to

reconcile the legislature’s will with the federal and state constitutions. 334 N.C. at

180, 182-86 (citing Delconte, 313 N.C. at 402, 329 S.E.2d at 647). If this Court

determines that the Statute’s scope is undetermined, then North Carolina’s courts

should have a similar opportunity to interpret the Statute. The federalism and

state-sovereignty considerations served by Pullman would counsel abstention.




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   II.       If the Court Reaches the Merits, the Plaintiffs Have Not Shown
             the Elements Required to Obtain a Temporary Restraining Order.

         A. Likelihood of Success on the Merits

         The Plaintiffs have not shown a likelihood of success on the merits of their

claims that the Statute is unconstitutional on its face or as applied to them. [D.E. 1

¶¶ 52-61]. As to the facial claim, the assertion that the First Amendment absolutely

protects the publication of knowingly false reports—that is to say, lying—about a

candidate for the purpose of affecting that candidate’s chances for election is

incorrect.

         The Statute is a content-based restriction on speech, but it is not necessarily

invalidated under strict scrutiny. United States v. Alvarez, 567 U.S. 709 (2012),

which Plaintiffs contend compels the application of strict scrutiny, was a plurality

decision that failed to garner majority agreement on this point. See 567 U.S. at 724

(four justices applying strict scrutiny), 730-31 (two justices concurring in the

judgment, but opining that intermediate scrutiny should apply), 739-40 (the

remaining three justices dissenting, opining that the statute was constitutional).

         Moreover, while Alvarez held that the First Amendment can protect false

statements, it distinguished itself from cases like this one that involve content-

based restrictions on speech in a “few historic and traditional categories of

expression long familiar to the bar,” including defamation. Id. at 717 (citing New

York Times Co. v. Sullivan, 376 U.S. 254 (1964)). The Statute proscribes the precise

conduct that Alvarez exempted from its holding. It mirrors the New York Times Co.




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v. Sullivan standard by requiring knowledge of falsity or “reckless disregard” of

truth or falsity. N.C. Gen. Stat. § 163-274(a)(9).

      In short, Alvarez did not hold that the Constitution protects all lying. The

Supreme Court has long recognized that lies “knowingly and deliberately published

about a public official” for the purpose of political advantage hardly approach the

“zenith” of First Amendment protection. See Garrison v. State of La., 379 U.S. 64,

75 (1964). Prohibitions on such falsehoods are among the categories of historically

acceptable content-based restrictions that Alvarez permits. 567 U.S. at 717-18.

      Finally, the Plaintiffs make no attempt to show that the Statute is facially

invalid by demonstrating that no set of circumstances exists under which the

Statute would be valid, that the Statute has no plainly legitimate sweep, or that the

Statute is impermissibly overbroad. Cf. United States v. Chappell, 691 F.3d 388,

393-94 (4th Cir. 2012) (cautioning against reading Alvarez to signal broader facial

unconstitutionality). A facial challenge, in any event, is strongly disfavored under

established law. Washington State Grange v. Washington State Republican Party,

552 U.S. 442, 450 (2008). Thus, the Plaintiffs’ effort to show a likelihood of success

on the facial challenge fails at this stage.

      B. Likelihood of Irreparable Harm to the Moving Party Absent a
         Temporary Restraining Order and Balancing of the Equities

      The Plaintiffs also bear the burden of showing that irreparable harm in the

absence of injunctive relief is likely, not merely a possibility. Winter, 555 U.S. at 22.

The Plaintiffs cannot make this showing or a showing that the equities favor them.




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      The Plaintiffs acknowledge that the State Board of Elections’ investigation at

issue concluded over one year ago. [D.E. 1 at ¶ 36]. Accordingly, there is no action of

the State Board of Elections in this case that the Plaintiffs would have the Court

enjoin. The Plaintiffs offer no explanation for their decision to wait over a year to

hale the State Board of Elections into court on a bid for “emergency” injunctive

relief. Their delay affects the equities and undercuts any showing of irreparable

harm absent injunctive relief, at least with respect to the broad injunction they seek

against the State Board of Elections. See, e.g., Cap. Assoc. Indus., Inc. v. Cooper,

129 F. Supp. 3d 281, 297 (M.D.N.C. 2015) (“CAI”) (collecting cases).

      The Plaintiffs’ entire argument on this factor rests on the general proposition

that the deprivation of a constitutional right, even for a short time, can constitute

irreparable harm. [D.E. 6 at 15]. But this Court has recognized that this general

proposition does not “automatically trigger a finding irreparable harm” in First

Amendment cases. CAI, 129 F. Supp. 3d at 297 (quoting KM Enters., Inc. v.

McDonald, No. 11-cv-5098, 2012 WL 540955, at *3 (E.D.N.Y. Feb. 16, 2012) (in turn

quoting earlier cases)). The CAI court cautioned that “[c]ourts must be vigilant to

ensure that this extraordinary remedy is not used to manufacture a sense of

urgency where none exists[.]” Id. As it relates to the State Board of Elections, the

Plaintiffs’ motion does exactly this.

      The Plaintiffs cannot show that irreparable harm is likely absent an Order

enjoining State Board of Elections, and their unexplained delay weighs against




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them in the balancing of the equities. The Plaintiffs fail to meet their burden of

proving either of these elements.

      C. Whether an Injunction is in the Public Interest

      The Plaintiffs devote two sentences to their argument that the public interest

favors a preliminary injunction in this case. [D.E. 6 at 16]. The Plaintiffs seek to

collapse this factor into likelihood of success on the merits. This does not satisfy the

Plaintiffs’ burden. See CAI, 129 F. Supp. 3d at 298 (“Although upholding

constitutional rights serves the public interest, as [the plaintiff] notes, this case

deserves to be addressed in a deliberate and thoughtful manner, which will ensure

fairness, finality, and that no harm comes to the public by any changes to the

[challenged] Statutes.”). Because the Plaintiffs put forth no support for their

assertion that interim relief is in the public interest, they have failed to

demonstrate that this factor is satisfied.

      To the contrary, enjoining any and all enforcement under the Statute—

including that which is completely unrelated to the underlying facts here—would

contravene the public interest. See Petersilie, 334 N.C. at 185, 432 S.E.2d at 841.

“Any time a State is enjoined by a court from effectuating statutes enacted by

representatives of its people, it suffers a form of irreparable injury.” Maryland v.

King, 567 U.S. 1301 (2012) (Roberts, C.J., in chambers) (citation omitted).

   III.   Plaintiffs Seek a Temporary Restraining Order that is Overbroad.

      Even if the Plaintiffs were entitled to a temporary restraining order, the

proposed Order they request is overbroad and unjustified under the circumstances.



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      The Plaintiffs’ proposed Order is not limited to enjoining enforcement related

to the complaint made against the Stein Campaign or its subject matter. Instead,

the Plaintiffs would have this Court enjoin wholly unrelated enforcement actions to

regulate knowingly false statements made to gain a political advantage. Because

the Plaintiffs offer no support for their facial challenge to the Statute, enjoining

enforcement of the Statute in all cases would be improper.

      The Statute unquestionably serves a compelling state interest. Petersilie, 334

N.C. at 185, 432 S.E.2d at 841. That being so, any interim determination about its

constitutionality ought not reach farther than is necessary to address the dispute

between the parties before the Court—especially without the benefit of a complete

record.

                                   CONCLUSION

      For the foregoing reasons, the State Board of Elections respectfully requests

that the Plaintiffs’ request for a temporary restraining order be denied. In the

alternative, if such an order is issued, the State Board of Elections respectfully

requests that it be limited to enjoin enforcement only in the underlying case about

which the Plaintiffs complain.

      Respectfully submitted, this the 24th day of July, 2022.

                                                /s/ Thomas H. Segars
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          CERTIFICATE OF COMPLIANCE WITH WORD COUNT

      The undersigned hereby certifies that this brief complies with the word

limit requirements of the LR 7.3(d)(1), limiting the word count to no more than

6,250 words. In making this certification, the undersigned has relied upon the

word count feature of word processing software.

      This the 24th day of July, 2022.


                                              /s/ Thomas H. Segars
                                              Thomas H. Segars




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